                      UNITED  STATES Document:
                      Case: 25-1558  COURT OF14APPEALS
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                                                            Date THIRD   CIRCUIT
                                                                       04/07/2025

                                                        No.         25-1558


                           Atlas Data Privacy Corporation, et al.     vs. DM Group, Inc., et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Atlas Data Privacy Corporation, et al.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                  ____ Appellant(s)                       ____ Intervenor(s)

          ✔ Respondent(s)
         ____                                ____ Appellee(s)                        ____ Amicus Curiae
                                Rajiv D. Parikh
(Type or Print) CounseO’s Name ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL:

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
